

Matter of Weingrad &amp; Weingrad v Goetz (2022 NY Slip Op 02768)





Matter of Weingrad &amp; Weingrad v Goetz


2022 NY Slip Op 02768


Decided on April 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 26, 2022

Before: Renwick, J.P., Kapnick, Gesmer, Moulton, Shulman, JJ. 


 Appeal No. 15806 Case No. 2022-00326 

[*1]In the Matter of Weingrad &amp; Weingrad, et al., Petitioners,
vPaul Allan Goetz, et al., Respondents.


Weingrad &amp; Weingrad, P.C., New York (Stephen A. Weingrad of counsel), for petitioners.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for respondents.



The above-named petitioners having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 26, 2022








